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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

JOHNNY BEARD, FRED BAKER &
SONS ELECTRIC, INC

Plaintiffs,
v.
BENICORP INSURANCE COMPANY,

Defendant.

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CASE NO. 04-2417-BA

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ORDER ON UNOPPOSEI) MOTION FOR EXTENSION OF TIME

This matter having come before the Court on Defendant, Benicorp Insurance Company’s

("Benicc)rp”), Unopposed Motion for Leave to File a Reply, seeking leave of the Court tc have

up tc and including J'une 25, 2005 to file its reply in support of its Motion to Strike Plaintiffs’

Jury Demand and Motion to Dismiss Plaintiffs’ State Law Claim and Clairns Asserted by

Plaintit`f, Fred Baker & Sons Electric, Inc., and the Court having considered said Motion, now

GRANTS said Motion.

lt is therefore, ORDERED, AJUDGED AND DECREED that the Defendant, Benicorp

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lnsurance Company, shall have up to and including June§§`ZOOS, within which to file its reply

in support of its Motion to Strike Plaintiffs’ Jury Demand and Motion to Dismiss Plaintiffs’ State

Lavv Claim and Claims Asserted by Plaintiff, Fred Baker & Sons Electric, Inc.

Dated: % 253 ZM

JUDGE, United States District Court

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Western District of Tennessee, Western Division

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Honorable .l. Breen
US DISTRICT COURT

